Case 0:17-cv-61786-KMW Document 29 Entered on FLSD Docket 01/29/2018 Page 1 of 1



                                                       IN THE CIRCUIT COURT OF
                                                       THE SOUTHERN JUDICIAL
                                                       CIRCU IT5IN AND FOR
                                                       FORT LA UDERDALE COUNTY ,FLORIDA

                                                       CASE NO.: 0:17-cv-6l786-KM W
   SCOTT A .NIRK,

          Plaintiff,
                                                                             Fl4
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                                                                                            .       .w..yow a.
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   SE'IAERUS,INC.,and FEDERA I-
   NATIONA I-M IIRTG AG E ASSOCIA-I'ION,
                                                                                     JAN 25 2013
          Defendants.                                                                STQVEN M .LAR1MOqE
                                                                                      CLUBK tJ.S.r.)Ii)1'CT
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                                                                                             . ft.
                                                                                                 At.
                                                                                                   Ji.

                                AM ENDED NOTICE O F M ED IATION
                                       (asto dateand time)
          PLEASE TAKE NOTICE thatthe mediation intheabove-captioned matterhasbeen scheduled for:

          DATE:                  M arch 28,20l8
          TIM E:                 2:00 p.m .
          PLACE:                 Upehurch W atson W hite& M ax,RoyalPalm 11atSouthpointe,
                                 900 S.Pine Island Road.Suite 410,Plantation,

          M EDIATO R:            CharlesA.M ancuso



   DATED this24th day of Janualy ,20l8.


                                        /s/ CharlesA .M ancuso
                                        CharlesA.M an5046cuso
                                        M ediator//5046
                                        Upchurch W atson W hite & M ax
                                         1060 M aitland CenterCommons.Suite440
                                        M aitland.17:- 32751
                                        407-661-1123 phone 407-661-5743 tkcsim ile


                                    CERTIFICATE 0 F SERV ICE


                   lhereby certify thaton 01/24/2018   acopy oftheabovewas sentvia Electronic M ail
   to:JessicaKerr,Esquire,jkent/advocacypa.com;vmurphyt/advocacypa.com;
    selwicetp)advocacypa.com'
                            ,ChristopherP.Hahn,Esquire,chahnl mauricewutscher.coln.
